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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

DAVID BENHAM,

      Plaintiff,                            Case No. 1:17-cv-00864-RJJ-PJG

v                                           Hon. Robert J. Jonker

ALLIED COLLECTION SERVICES, INC.,

     Defendant.
__________________________________________________________________


             NOTICE OF VOLUNTARY DISMISSAL
    WITH PREJUDICE AND WITHOUT COSTS TO EITHER PARTY

      The Plaintiff hereby dismisses the within action against Defendant Allied
Collection Services, Inc., with prejudice and without costs to either party.



                                                  Respectfully submitted


April 9, 2018                                     /s/ Gary Nitzkin____________
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